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Sheet 1 - Judgment in a Criminal Case with Supervised Release (Rev. 04/2018)
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             UNITED STATES OF AMERICA                                      CLEi'llW~E~T        IN A CRIMINAL       CASE
                                                                           AT gJ3l\J:T<JMaR~ Committedon or AfterNovember1, 1987)
                                     v.                                 V.J          "EPUTY
                                                                     BY~tler:                JKB-I-16-CR-00363-005
                       KENNETH JONES                                         Defendant's Attorney: Alan Bussard, CJA
                                                                             Assistant U.S. Attorney: Peter Martinez & Christina Hoffman

                                                                      I.

THE DEFENDANT:
o pleaded guilty to count( s) _                    . •
o pleaded nolo contendere to count(s) __ , which was accepted by the court.
I:8J was found guilty on counts Is & 2s of the Second Superseding Indictment after a plea of not guilty.

                                                                                                       Date                    Count
       Title & Section                                   Nature of Offense                       OffenseConcluded             Number(s)
     18U.S.QI962(d),                                Conpiracy To Participate In                    09/20/2017                    Is
 21:841(a)(l)(A), (b)(l)(A)                          Racketeering Enterprise;
          and 846;
       21U.S.q846                            Conspiracy To Distribute and Possess                   09/20/2017                      2s
                                             With Intent To Distribute Controlled
                                                          Substances


    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through 6       of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by U.S. v. Booker, 543 U.S. 220 (2005).       .

o    The defendant has been found not guilty on count(s) __
I:8J Counts 1 & 2 of the Superseding Indictment are dismissed on the motion of the United States.

    IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid.


                                                                                May 10, 2018
                                                                               Date of Imposition of Judgment


                                                                           CZ;n.- ?C.8~
                                                                           .    ames K. Bredar                     Date
                                                                                                                          tiy f?'(ZOt'E.
                                                                               United States District Judge


Nameof CourtReporter: ChristineAsif
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Sheet 2 - lpdgment in a Criminal Case with Supervised Release (Rev. 04/2018)                                               Judgment Page 2 of 6

PEFENDANT:          Kenneth Jones                                                                 CASE NUMBER: JKB-I-16-CR-00363-005


                                                                IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of Life as to count 1s; Life as to count 2s of the Second Superseding Indictment to run
concurrent to count 1s for a total term of Life. This term of imprisonment shall run concurrent to the sentence
that the Defendant is already serving in the Baltimore City Circuit Court for the State of Maryland case
113310058.

[2:J The court makes the following recommendations to the Bureau of Prisons:
1) That the Maryland Division of Corrections be a designated place of incarceration for the completion of the
     federal sentence, or in the alternative that the Defendant be placed in a facility consistent with his security
     level that is as close as possible to: Baltimore, MD.

[2:J The defendant is remanded to the custody ofthe United States Marshal.

D The defendant shall surrender to the United States Marshal for this district:

     D at __      a.m.lp.m. on _.__ '
     D as notified by the United States Marshal.

D The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
  at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
  the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

     D before 2pm on                                                                                  _

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.c. ~3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond.

                                                                         RETURN

I have executed this judgment as follows:

     Defendant delivered on __                    to __         at __          , with a certified copy of this judgment.



                                                                               UNITED STATES MARSHAL


                                                                               By:                                                       _
                                                                               DEPUTY U.S. MARSHAL
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Sheet 3 . J\1dgment in a Criminal Case with Supervised Release (Rev. 0412018)                                           Judgment Page 3 of 6
DEFENDANT:          Kenneth Jones                                                       CASE NUMBER: JKB-I-16-CR-00363-005


                                                          SUPERVISED RELEASE
   Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years as to
count I sand 5 years as to count 2s to run concurrent for a total term of 5 years.

The defendant shall comply with all of the following conditions:

   The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

                                                 A.       MANDATORY CONDITIONS
I)   You must not commit another federal, state or local crime.
2)   You must not unlawfully possess a controlled substance.
3)   You must retrain trom any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     trom imprisonment and at least two periodic drug tests thereafter, as determined by the court.
     o    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
     abuse. (check if applicable)
4)   0 You must make restitution in accordance with 18 U.S.C. ~~ 3663 and 3663A or any other statute authorizing a sentence of
     restitution. (check if applicable)
5)   You must cooperate in the collection of DNA as directed by the probation officer.
6)   0 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. ~ 20901, ef seq.)
     as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
     reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7)   0 You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page
                                 B.       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I)   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
     time frame.
2)   After initially reporting to the probation office, you will receive instructions trom the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3)   You must not knowingly leave the federal judicial district where you are authorized to reside without fust getting permission trom
     the court or the probation officer.
4)   You must answer truthfully the questions asked by your probation officer.
5)   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
     notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
     officer within 72 hours of becoming aware of a change or expected change.
6)   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7)   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
     trom doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
     excuses you trom doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at
     least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours
     of becoming aware of a change or expected change.
8)   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
     the probation officer.
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$heet 4 - Judgment in a Criminal Case with Supervised Release (Rev. 0412018)                                       Judgment Page 4 of 6
DEFENDANT:          Kenneth Jones                                                         CASE NUMBER: JKB-I-I6-CR-00363-005


9) If you are arrested or questioned by a law enforcement officer, you must notifY the probation officer within 72 hours.
10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (Le., anYthing that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers ).
11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
    without first getting the permission of the court.
12) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notifY the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13) You must follow the instructions of the probation officer related to the conditions of supervision.


                                                    C. SUPERVISED RELEASE
                                                    ADDITIONAL CONDITIONS



     1. N/A




U.S. Probation     Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                          _   Date               _
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Sheet 5, Part A - Judgment in a Criminal Case with Supervised Release (Rev. 04/2018)                                                   Judgment Page 5 of 6

DEFENDANT:          Kenneth Jones                                                                      CASE NUMBER: JKB-I-16-CR-00363-005


                                             CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                            Fine                              Restitution
 TOTALS                  $200.00                                               $.00                              $.00
 o       CVB Processing Fee $30.00



 o       The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case (AO 245C)
                                                                                           will be entered after such determination.

 o       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
       otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. S 3664(i), all nonfederal
       victims must be paid before the United States is paid.
          Name of Payee                    Total Loss'                  Restitution Ordered               Priority or Percentage
                                                                                            $.00




                                        $                                         $            $0.00
 TOTALS
                                            ---------
 o      Restitution amount ordered pursuant to plea ag~eement
                                                                            ----------
  o     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
        before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(1). All of the payment options on Sheet 6
        may be subject to penalties for delinquency and default, pursuant to 18 U.S.c. S 3612(g).

  o     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        D the interest requirement is waived for the              0     fine      o    restitution

      o the interest requirement for the 0 fine 0 restitution is modified as follows:
 * Findings for the total amount of losses are required under Chapters 109A, 110, IIOA, and 113A of Title 18 for offenses
 committed on or after September 13, 1994, but before April 23, 1996.
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DEFENDANT:            Kenneth Jones                                                               CASE NUMBER: JKB-J-16-CR-00363-005


                                                        SCHEDULE OF PAYMENTS
    Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
    (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost "fprosecution and court costs.


       Payment of the total fine and other criminal monetary penalties shall be due as follows:

A      I:8J   Special Assessment shall be paid in full immediately.


B      0 $             immediately, balance due (in accordance with C, D, or E); or

C      0 Not later than                ; or

D      0 Installments to commence                      day(s) after the date of this judgment.

E      0 In                (e.g equal weekly, monthly. quarterly) installments of $                 over a period of       year(s) to commence
              when the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders otherwise, if this judgment imposes a period of imprisonment, payment of criminal monetary
penalties shall be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the
Bureau of Prisons Inmate Financial Responsibility Program, are to be made to the Clerk of the Court.

I:8J NO RESTITUTION OR OTHER FINANCIAL                               PENALTY     SHALL BE COLLECTED           THROUGH   THE INMATE
FINANCIAL RESPONSIBILITY   PROGRAM.

If the entire amount of criminal monetary penalties is not paid prior to the commencement of supervision, the balance shall be paid:

       o      in equal monthly installments during the term of supervision; or

       o      on a nominal payment schedule of $                  per month during the term of supervision.

The U.S. probation officer may recommend a modification of the payment schedule depending on the defendant's financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

o      Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




o      The defendant shall pay the cost of prosecution.

o      The defendant shall pay the following court cost(s):

o      The defendant shall forfeit the defendant's interest in the following property to the United States:
